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      Attorney(s) for Plaintiff Social Positioning Input Systems, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9   SOCIAL POSITIONING INPUT
      SYSTEMS, LLC,
 10
                    Plaintiff,                   CASE NO. 8:21-cv-01155
 11
             v.
 12                                              PATENT CASE
      ISHARINGSOFT, INC.,
 13
                    Defendant.
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 15
                                         COMPLAINT
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            Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files
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      this Complaint against Isharingsoft, Inc. (“Defendant” or “Isharingsoft”) for
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      infringement of United States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).
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                                 PARTIES AND JURISDICTION
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            1.     This is an action for patent infringement under Title 35 of the United
 21
      States Code. Plaintiff is seeking injunctive relief as well as damages.
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            2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
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      (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
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      infringement arising under the United States patent statutes.
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            3.     Plaintiff is a Texas limited liability company with a virtual office located
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      at 1 East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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  1          4.     On information and belief, Defendant is a Delaware corporation with its
  2   principal office located at 200 Spectrum Center Drive, Suite 300, Irvine, CA 92618.
  3   On information and belief, Defendant may be served through its agent, The
  4   Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,
  5   Wilmington, DE 19801.
  6          5.     On information and belief, this Court has personal jurisdiction over
  7   Defendant because Defendant has committed, and continues to commit, acts of
  8   infringement in this District, has conducted business in this District, and/or has
  9   engaged in continuous and systematic activities in this District.
 10          6.     On information and belief, Defendant’s instrumentalities that are alleged
 11   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
 12   in this District.
 13                                          VENUE
 14          7.     On information and belief, venue is proper in this District under 28
 15   U.S.C. § 1400(b) because Defendant is deemed to reside in this District.
 16   Alternatively, acts of infringement are occurring in this District and Defendant has a
 17   regular and established place of business in this District.
 18                                         COUNT I
 19         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
 20          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
 21          9.     This cause of action arises under the patent laws of the United States
 22   and, in particular, under 35 U.S.C. §§ 271, et seq.
 23          10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole rights
 24   to enforce the ‘365 Patent and sue infringers.
 25          11.    A copy of the ‘365 Patent, titled “Device, System and Method for
 26   Remotely Entering, Storing and Sharing Addresses for a Positional Information
 27   Device,” is attached hereto as Exhibit A.
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  1         12.    The ‘365 Patent is valid, enforceable, and was duly issued in full
  2   compliance with Title 35 of the United States Code.
  3         13.    Upon information and belief, Defendant has infringed and continues to
  4   infringe one or more claims, including at least Claim 1, of the ‘365 Patent by making,
  5   using (at least by having its employees, or someone under Defendant's control, test
  6   the accused Product), importing, selling, and/or offering for sale associated hardware
  7   and software for asset locating services (e.g., Isharingsoft asset tracking platform, and
  8   any associated hardware, apps, or other software) (“Product”) covered by at least
  9   Claim 1 of the ‘365 Patent. Defendant has infringed and continues to infringe the ‘365
 10   patent either directly or through acts of contributory infringement or inducement in
 11   violation of 35 U.S.C. § 271.
 12         14.    The Product provides an asset tracking system for real-time GPS
 13   tracking of assets. A user can receive location information on a positional information
 14   device (e.g., mobile device or computer). Certain aspects of this element are
 15   illustrated in the screenshot(s) below and/or in those provided in connection with
 16   other allegations herein.
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 16         15.    The Product software sends a request from a first (requesting) positional
 17   information device (e.g., mobile device or desktop with software installed) to a server.
 18   The request is for the real-time location (e.g., stored address) of an asset, and includes
 19   a first identifier of the requesting positional information device (e.g., user ID and
 20   password for the Product software used in the particular enterprise). The request is
 21   sent to the Product server for transmitting the vehicle location. The server receives
 22   the at least one address from a second (sending) positional information device at the
 23   asset. Certain aspects of this element are illustrated in the screenshot(s) below and/or
 24   in those provided in connection with other allegations herein.
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            16.   The at least one address is received from the server at the requesting
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      positional information device.    For example the Product’s server transmits the
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      position of an asset (at least one address) to the requesting positional information
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      device. Certain aspects of this element are illustrated in the screenshot(s) below
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      and/or in those provided in connection with other allegations herein.
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 24         17.    A second identifier for the second (sending) positional information
 25   device is determined based on the first identifier and the server retrieves the at least
 26   one address stored in the at least one sending positional information device. The
 27   Product application installed on the requesting positional information device requests
 28   (from the server) the asset’s GPS location (i.e., at least one stored address stored). As
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                                             COMPLAINT
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  1   shown above, before activating the tracker (i.e., the sending positional information
  2   device), a unique tracking device’s ID number or credentials (i.e., second identifier)
  3   needs to be added to the user’s account identified by the user login ID and password
  4   (i.e., the first identifier). Hence, the tracker device’s ID number or field employee
  5   credentials (i.e., second identifier) is mapped to the user’s login ID (i.e., the first
  6   identifier) for tracking the real-time location (i.e., at least one stored address stored)
  7   of the vehicle. Certain aspects of this element are illustrated in the screenshot(s) below
  8   and/or in those provided in connection with other allegations herein.
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 27         18.   Defendant’s actions complained of herein will continue unless
 28   Defendant is enjoined by this court.
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                                             COMPLAINT
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   1         19.    Defendant’s actions complained of herein are causing irreparable harm
   2   and monetary damage to Plaintiff and will continue to do so unless and until
   3   Defendant is enjoined and restrained by this Court.
   4         20.    Plaintiff is in compliance with 35 U.S.C. § 287.
   5                                   PRAYER FOR RELIEF
   6         WHEREFORE, Plaintiff asks the Court to:
   7         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
   8   asserted herein;
   9         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
  10   employees, attorneys, and all persons in active concert or participation with Defendant
  11   who receive notice of the order from further infringement of United States Patent No.
  12   9,261,365 (or, in the alternative, awarding Plaintiff a running royalty from the time of
  13   judgment going forward);
  14         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
  15   accordance with 35 U.S.C. § 284;
  16         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
  17         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
  18   entitled under law or equity.
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       Dated: July 5, 2021                    Respectfully submitted,

  21                                          /s/ Stephen M. Lobbin
  22                                          Attorney(s) for Plaintiff
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                                             COMPLAINT
